            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                        ST. JOSEPH DIVISION

UNITED STATES OF AMERICA,             )
                                      )
                  Plaintiff,          )
                                      )
           v.                         )      Criminal Action No.
                                      )      13-06010-01-CR-SJ-FJG
DONNA PRESZLER,                       )
                                      )
                  Defendant.          )

                       REPORT AND RECOMMENDATION
                   TO ACCEPT DEFENDANT’S GUILTY PLEA

     On February 13, 2014, I held a change-of-plea hearing after

this case was referred to me by United States District Judge

Fernando Gaitan, Jr.     I find that defendant’s plea was voluntary

and therefore recommend that it be accepted.

I.   BACKGROUND

     On January 28, 2014, a superseding indictment was returned

charging defendant with 6 counts of wire fraud, in violation of

18 U.S.C. § 1343; 14 counts of engaging in monetary transactions

in criminally derived property, in violation of 18 U.S.C. § 1957;

and 1 count of filing a false tax return, in violation of 26

U.S.C. § 7206.

     Judge Gaitan referred this case to me for conducting a

change-of-plea hearing and issuing a report and recommendation on

whether to accept the plea.       On February 13, 2014, defendant

appeared before me with her counsel, John Lynch.              The government

was represented by Assistant United States Attorney Jess




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Michaelsen.    The proceedings were recorded and a transcript of

the hearing was filed on February 14, 2014.

II.   AUTHORITY OF THE COURT

      The authority of federal magistrate judges to conduct

proceedings is created and defined by the Magistrates Act, 28

U.S.C. § 636. Besides certain enumerated duties, the Act provides

that a “magistrate may be assigned such additional duties as are

not inconsistent with the Constitution and the laws of the United

States.” 28 U.S.C. § 636(b)(3).

      The Eighth Circuit, following the reasoning of several other

circuits, has held that magistrate judges may preside over

allocutions and pleas in felony cases, so long as certain

procedural safeguards are met. United States v. Torres, 258 F.3d

791, 795-96 (8th Cir. 2001); see also United States v. Dees, 125

F.3d 261 (5th Cir. 1997), United States v. Williams, 23 F.3d 629

(2d Cir. 1994). The reasoning applied by the appellate courts

relies upon previous opinions by the United States Supreme Court

that conducting jury voir dire falls within a magistrate judge’s

“additional duties” when the defendant has consented. United

States v. Torres, 258 F.3d at 795 (citing Peretz v. United

States, 501 U.S. 923 (1991), Gomez v. United States, 490 U.S. 858

(1989)).

      In Peretz, the Supreme Court held that when a defendant

consents to a magistrate judge’s involvement in voir dire, he


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waives any objection based on his right to have an Article III

judge hear his felony case. 501 U.S. at 936. Moreover, the

availability of de novo review by a district judge preserves the

structural guarantees of Article III. United States v. Torres,

258 F.3d at 795. Applying the Peretz holding and the reasoning of

Williams, the Eighth Circuit held that the acceptance of guilty

pleas bears adequate relationship to duties already assigned by

the Magistrates Act in that “[a]n allocution is an ordinary

garden variety type of ministerial function that magistrate

judges commonly perform on a regular basis.” Id. Plea allocutions

are substantially similar to evidentiary proceedings explicitly

assigned by the Act. Id. at 796 (citing United States v. Dees,

125 F.3d at 265).     Even if taking a guilty plea were considered

to be of greater importance than those duties already assigned,

the consent of the defendant saves the delegation. Id. “Consent

is the key.” Id. (quoting United States v. Williams, 23 F.3d at

633).

        The Torres court also addressed the implications of such a

delegation for Article III’s case and controversy clause. Id.

Because plea proceedings are submitted to the district court for

approval, the court retains ultimate control over the proceedings

and is not bound to accept a plea taken by a magistrate judge.

Id. Moreover, the district court’s de novo review of the plea

proceedings contributes to the ministerial nature of the


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magistrate judge’s role. Id.

       Based on the above, I find that, with the consent of the

defendant, the district court may properly refer a felony case to

a Magistrate Judge for conducting a change-of-plea hearing and

issuing a report and recommendation on whether the plea should be

accepted.

III.    FINDINGS OF FACT

       1.    On January 28, 2014, a superseding indictment was

returned charging defendant with 6 counts of wire fraud, in

violation of 18 U.S.C. § 1343; 14 counts of engaging in monetary

transactions in criminally derived property, in violation of 18

U.S.C. § 1957; and 1 count of filing a false tax return, in

violation of 26 U.S.C. § 7206.         Defendant understood the charges

in the information (Tr. at 13).

       2.    The statutory penalty for each count of wire fraud is

not more than 20 years imprisonment, not more than $250,000 fine,

not more than 3 years of supervised release, and a $100 mandatory

special assessment.       The statutory penalty for each count of

engaging in monetary transactions in criminal derived property is

not more than 10 years imprisonment, not more than $250,000 fine,

not more than 3 years of supervised release, and a $100 mandatory

special assessment.       The statutory penalty for filing a false tax

return is not more than 3 years imprisonment, not more than

$100,000 fine, not more than 1 year of supervised release, and a


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$100 mandatory special assessment.         In addition, defendant faces

the possibility of restitution and forfeiture (Tr. at 35-36, 38).

Defendant understood the statutory penalties (Tr. at 13).

     3.   Defendant was advised of and understood the following:

          a.    That she has a right to a trial by jury of at

     least 12 individuals and that their verdict must be

     unanimous (Tr. at 13);

          b.    That she has the right to assistance of counsel

     throughout the trial (Tr. at 13-14);

          c.    That defendant is presumed innocent, and the

     government has the burden of coming forward to prove

     defendant’s guilt beyond a reasonable doubt (Tr. at 14);

          d.    That defendant’s attorney would have the

     opportunity to cross examine the government witnesses (Tr.

     at 14);

          e.    That defendant would have an opportunity to

     subpoena witnesses to testify on her behalf (Tr. at 15);

          f.    That defendant would have an opportunity to

     testify on her own behalf, but that she would not be

     required to and the jury would be instructed that they could

     not draw an adverse inference if she chose not to testify

     (Tr. at 14-15); and

          g.    That defendant would have an opportunity to appeal

     any conviction to the Eighth Circuit Court of Appeals (Tr.


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       at 15-16).

       4.    Defendant was informed and understood that by pleading

guilty, she is giving up all of the rights described above (Tr.

at 16).

       5.    Defendant was informed that during the change-of-plea

proceeding, she would be placed under oath and questioned by

counsel and the judge (Tr. at 16-17).          Defendant was further

informed that she must answer questions truthfully while under

oath (Tr. at 17).      Defendant stated that she understood (Tr. at

17).

       6.    Defense counsel had full access to the government’s

file and agreed that his review of the evidence and his

independent investigation confirmed that the facts were as

alleged by the government and that it is in the defendant’s best

interest to plead guilty (Tr. at 17).

       7.    The government made the following factual basis for the

crimes to which defendant intends to plead guilty:

       Ms. Preszler was employed as an account manager at Burdg,
       Dunham & Associates. Through her employment she was able to
       set up direct deposits to her personal bank accounts that
       she had and held jointly with her husband and with others.
       As a result of those direct deposits that were made as part
       of her payroll direct deposits, and they were included under
       a column as essentially as an expense reimbursement and not
       as actual pay, therefore, there were no taxes withheld from
       that amount. Throughout the scheme when it began, the
       amounts increased. And Ms. Preszler towards the end was --
       towards the end in that manner of the scheme, she took
       approximately $3.9 million from Burdg, Dunham & Associates
       in that manner. And in particular for Count Six, that
       pertains to one of the weekly ACH payroll transfers, direct

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     deposits to her accounts that occurred on June 13th of 2012.
     And at that time the amount of that fraudulent non-taxable
     pay or expense reimbursement was $35,000. These transfers
     were set up via ACH, download files which caused them to be
     uploaded to the Internet and resulted in a wire transfer of
     the uploads of these payroll download files.

(Tr. at 19-20).

     8.   Defendant was placed under oath (Tr. at 18) and

admitted the following:      As to count 6, defendant did knowingly

cause to be transmitted in interstate commerce by means of wire

communication certain signals, that is, weekly ACH payroll data

files sent via wire transfers on the Internet from BDA in

Hamilton, Missouri, to FreedomWare, LLC’s computer servers

in New York, to initiate and process false and fictitious weekly

ACH payments from BDA’s bank accounts to her personal bank

accounts and others, on or about June 13, 2012, in the amount of

$35,000.00.   At the time defendant did this, she did it

knowingly, and she knew that it was illegal (Tr. at 20-22).

     As to count 20, on June 22, 2012, defendant initiated a wire

transfer from Citizens Bank & Trust in the amount of $148,389.14

which represented a false and fictitious payment.           She did this

intentionally and she knew at the time that it was against the

law (Tr. at 22-23).

     As to count 21, for the tax years 2007 through 2012,

defendant filed her federal income tax returns and failed to

report the fraudulently obtained funds from BDA on her federal

income tax returns submitted to the IRS for each of those years.

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On or about February 19, 2013, in the Western District of

Missouri, defendant was a resident of Chillicothe, and she did

willfully filed with the Internal Revenue Service a Form 1040 for

the year 2012, which was verified by written declaration that it

was made under the penalty of perjury and was filed with the

Director of IRS at the center in Kansas City, Missouri; and

defendant then and there knew it was not true and correct as to

every material matter, in that defendant then and there knew

and believed that the return materially understated the income

obtained by the defendant through embezzlement. In particular,

defendant represented for 2012 her joint income with her husband

was only $46,863.00, whereas, she then and there knew and

believed their total income, including the embezzled funds, was

actually $851,863.00.       At the time she did this knowingly and she

knew that it was illegal (Tr. at 24-25).

       9.    Defendant is familiar with the plea agreement,

discussed it with her attorney, and understands it (Tr. at 25-

26).    In addition, I went over the entire plea agreement with

defendant during the change-of-plea hearing (Tr. at 26-31).

       10.   No one has made any threats or promises in order to get

defendant to plead guilty (Tr. at 31).

       11.   Defendant is satisfied with the advice and guidance she

has received from Mr. Lynch (Tr. at 31).           There is nothing he has

done that defendant did not want him to do (Tr. at 32).                There is


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nothing he has failed to do that defendant wanted him to do (Tr.

at 32).

      12.   Defendant is 60 years of age (Tr. at 32).             She has a

high school education (Tr. at 32).           Defendant has no mental

health or substance abuse issues (Tr. at 32-33).               Defendant was

not under the influence of any drug or alcohol during the change-

of-plea hearing (Tr. at 33).

      13.   Defendant tendered a plea of guilty to counts 6, 20 and

21 of the superseding indictment (Tr. at 33).

IV.   ELEMENTS OF THE CHARGED OFFENSES

      The essential elements of wire fraud are:            (1) a scheme to

defraud, (2) the use of interstate wires incident to the scheme,

and (3) an intent to cause harm.          United States v. Edelmann, 458

F.3d 791, 812 (8th Cir. 2006).

      The essential elements of engaging in monetary transactions

in criminally derived property are:           (1) defendant knowingly

engaged in a monetary transaction, (2) defendant knew that the

property involved derived from specified unlawful activity, and

(3) the property is of a value greater than $10,000.               United

States v. Pizano, 421 F.3d 707, 722 (8th Cir. 2005).

      The essential elements of filing a false tax return are:

(1) defendant did make and subscribe United States Joint Income

Tax Returns which were incorrect as to a material matter, (2) the

United States Joint Income Tax Returns subscribed to by the


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defendant contained a written declaration that they were made

under the penalty of perjury, (3) defendant did not believe the

returns to be true and correct as to every material matter, and

(4) defendant falsely subscribed to the returns wilfully with the

specific intent to violate the law.         United States v. Brooksby,

668 F.2d 1102 (9th Cir. 1982); Eighth Circuit Model Criminal Jury

Instruction 6.26.7206.

V.   CONCLUSION

     Based on the above, I make the following conclusions:

     1.    The district court may lawfully refer this case to a

Magistrate Judge for issuance of a report and recommendation on

whether defendant’s guilty plea should be accepted.

     2.    Defendant knowingly and voluntarily pleaded guilty to

conduct establishing every element of the crimes charged in

counts 6, 20 and 21 of the superseding indictment.

     Therefore, it is

     RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

accepting defendant’s guilty plea and adjudging defendant guilty

of the offenses charged in counts 6, 20 and 21 of the superseding

indictment.



                                   ROBERT E. LARSEN
                                   United States Magistrate Judge
Kansas City, Missouri
February 14, 2014

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